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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA                                    *

                          Plaintiff             *

v.                                              *         Case No.: 1:23-cv-00038

DONALD J. TRUMP, et al.,                        *

                          Defendants            *

*         *        *      *       *      *      *         *      *      *      *       *      *          *

                                      NOTICE OF APPEARANCE

              PLEASE note the appearance of undersigned counsel, being admitted and authorized to

    practice before this Court, as co-counsel of record for the Defendant, George Pierre Tanios in the

    above captioned matter.

                                                    Respectfully submitted,


                                                /s/Adam T. Sampson
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st day of May, 2023, a copy of the foregoing Notice of

Appearance was served via the Court’s e-filing to:

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